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Case 2:10-cv-08686-DMG-JCG Document1 Filed 11/15/10 Page1of8 Page ID
FILED
Ryan Lee, Esq. (SBN 235879) rue i a.9og
Krohn & Moss, Ltd. THOROV IS AK 9 eg
10474 Santa Monica Blvd., Suite 401 CLERK U.S. DISTRICT COURT
Los Angeles, CA 90025 CENTR AL BIST. OF CAL,
T: (323) 988-2400; F: (866) 861-1390 | ROS ANCELES
rlee@consumerlawcenter.com BY etn ne rt een a
Attorneys for Plaintiff,
DAVID LAWRENCE
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION
_

DAVID LAWRENCE, Case No.: CV 10 86 8 6 \

Plaintiff, COMPLAINT AND DEMAND FOR

JURY TRIAL
Vv.
(Unlawful Debt Collection Practices)

NCO FINANCIAL SYSTEMS, INC.,

Defendant.

 

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VERIFIED COMPLAINT
DAVID LAWRENCE (Plaintiff), by his attorneys, KROHN & MOSS,
LTD., alleges the following against NCO FINANCIAL SYSTEMS, INC.,
(Defendant):
INTRODUCTION
1. Count I of Plaintiffs Complaint is based on the Fair Debt Collection
Practices Act, 75 U.S.C. 1692 et seg. (FDCPA).
2. Count II of the Plaintiffs Complaint is based on Rosenthal Fair Debt
Collection Practices Act, Cal. Civ. Code $1788 et seq. (RFDCPA).
JURISDICTION AND VENUE
3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d}, which states

that such actions may be brought and heard before “any appropriate United

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PLAINTIFF’S VERIFIED COMPLAINT

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Case 2:10-cv-08686-DMG-JCG Document1 Filed 11/15/10 Page 2of8 Page ID #:6

States district court without regard to the amount in controversy,” and 28
U.S.C. 1367 grants this court supplemental jurisdiction over the state claims
contained therein.
4. Defendant does business is in the state of California, and therefore, personal
jurisdiction is established.
5. Venue is proper pursuant to 28 U.S.C. 1391(b) (1).
PARTIES

6. Plaintiff is a natural person residing in Hawthorne, Los Angeles County,
California.

7. Plaintiff is a consumer as that term is defined by /5 U.S.C. 1692a(3), and
according to Defendant, Plaintiff allegedly owes a debt as that term is

defined by 15 U.S.C. 1692a(5) and Cal. Civ. Code § 1788. 2¢h).

and Cal. Civ. Code $1788.2(c), and sought to collect a consumer debt from
Plaintiff.

9. Defendant is a company with its headquarters in Horsham, Pennsylvania.

10.Defendant acted through its agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees,
representatives, and insurers.

FACTUAL ALLEGATIONS

11. Defendant constantly and continuously placed collection calls to Plaintiff
seeking and demanding payment for an alleged debt.

12.Defendant placed multiple collection calls to Plaintiff on April 23, 2010,
May 4, 2010, May 6, 2010, May 14, 2010, June 2, 2010, and June 10, 2010.

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PLAINTIFE’S VERIFIED COMPLAINT

 

. 8. Defendant is a debteéliéetor-as that term is defined by 15 U.S.C. L692a(6)|- 0. Be

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Case 2:10-cv-08686-DMG-JCG Document1 Filed 11/15/10 Page 3o0f8 Page ID #:7

| 13. Defendant placed collection calls from telephone numbers 866-442-0536

 

2 and 800-448-9570 to Plaintiffs’ cell phone number 310-948-0229.

3 COUNT I

, || DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES
ACT

6 14.Defendant violated the FDCPA based on the following:
7 15.Defendant violated §1692d of the FDCPA by engaging in conduct the
8 natural consequence of which is to harass, oppress, or abuse the Plaintiff.

9 16.Defendant violated §/692d(5) of the FDCPA by causing a telephone to ring

10 repeatedly and continuously with the intent to annoy, abuse, and harass
i Plaintiff.
12 WHEREFORE, Plaintiff, DAVID LAWRENCE requests that judgment be

13 |Jentered again inst | t Defendant, NCO FINAN NCIAL SYSTEMS, INC for the

     

14 following:

15 17. Statutory damages pursuant to the Fair Debt Collection Practices Act,
16 HIS USC. 1692k,

17 18. Costs and reasonable attorneys’ fees pursuant to the Fair Debt

18 | Collection Practices Act, 15 U.S.C. 1692k

 

19 19. Any other relief that this Honorable Court deems appropriate.

20 COUNT I

21 DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT
COLLECTION PRACTICES ACT (REDCPA), Cal. Civ. Code § 1788 et seq.
23 20. Plaintiffrepeats, re-alleges and incorporates by reference all of the

24 foregoing paragraphs.

25 21. Defendant violated the RFDCPA based on the following:

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PLAINTIFF'S VERIFIED COMPLAINT

 

 

 
Case 2:10-cv-08686-DMG-JCG Document1 Filed 11/15/10 Page 4of8 Page 1D #:8
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I VERIFICATION OF COMPLAINT AND CERTIFICATION

2 | STATE OF CALIFORNIA .
3 Plaintiff, DAVID LAWRENCE, states as follows:

4 1, Tam the Plaintiffin this civil proceeding.

2. Ihave read the above-entitled civil Complaint prepared by my attorneys
5 and 1 believe that all of the facts contained in it are true, to the best of my
knowledge, information and belief formed after reasonable inguiry.

6}| 3. I believe that this civil Complaint is well grounded in fact and warranted
by existing law or by a good faith argument for the extension,

? modification or reversal of existing law.

4. I believe that this civil Complaint is not interposed for any improper
8 purpose, such as to harass any Defendant(s), cause unnecessary delay to

any Defendant s} or create a needless increase in the cost of litigation to

9 any Defendant(s), named in the Complaint.

5. [have filed this Complaint in good faith and solely for the purposes set
10 forth in it,
i Pursuant to 28 U.S.C, § 1746(2), I, DAVID LAWRENCE, hereby

declare (or certify, verify or state) under penalty of perjury that the foregoing is
12 true and correct.

   
    

 

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PLAINTIFF'S VERIFIED COMPLAINT

 

 

 
Case 2:10-cv-08686-DMG-JCG Document1 Filed 11/15/10 Page5of8 Page ID #:9

| a. Defendant violated §/788.11(d) of the RFDCPA by placing
2 collection calls to Plaintiff repeatedly and continuously so as to annoy Plaintiff.
3 b. Defendant violated §/758.1/(e) of the RFDCPA by placing
4 collection calls to Plaintiff with such frequency as to be unreasonable and to
. constitute a harassment to Plaintiff under the circumstances.

6 C. Defendant violated the §/788.17 of the RFDCPA by
7 continuously failing to comply with the statutory regulations contained within

8 the FDCPA, 15 U.S.C. § 1692 et seq.

9 22. Statutory damages pursuant to the Rosenthal Fair Debt Collection
10 Practices Act, Cal. Civ. Code §1788.30(b),

VW 23. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair
12 Debt Collection Practices Act, Cal. Civ. Code §1788.30(c), and

13 24. Any other relief tha his Honorable Court deems S appropriate.

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1S DEMAND FOR JURY TRIAL

16 PLEASE TAKE NOTICE that Plaintiff, DAVID LAWRENCE, demands a
17 |ijury trial in this case.

18 RESPECTFULLY SUBMITTED,

19 || DATED: October 19, 2010 OHN & MOSS, LTD.

20

21 By: NN —_

22 Atemey for Plaintiff -

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PLAINTIFF’S VERIFIED COMPLAINT

 

 

 
«,. NCO FINANCIAL SYSTEMS, INC.

Case 2:10-cv-08686-DMG-JCG Document1 Filed 11/15/10 Page 6of8 Page ID #:10

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

DAVID LAWRENCE, CASE NUMBER

 

PLAINTIFF(S)

‘ CV10 8686~vE

SUMMONS
DEFENDANT(S).

 

 

TO: DEFENDANT(S): NCO FINANCIAL SYSTEMS, INC.

A lawsuit has been filed against you.

 

Within__21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached wf complaint 0 amended complaint
[i counterclaim CJ cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiffs attorney, Ryan Lee, Esq. , Whose address is
Krobn & Moss, Ltd.; 10474 Santa Monica Blvd., Suite 401; Los Angeles, CA 90025 . Ifyou fail to do so,
judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

 

Dated: 415 Nov 200 By:

 

 

“NV. DepeyClerk

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 1 2fa){3)].

 

CV-O1A (12/07) SUMMONS
Case 2:10-cv-08686-DMG-JCG Document1 Filed 11/15/10 Page 7of8 Page ID #:11

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

 

DEFENDANTS

I (a) PLAINTIFFS (Check box if you are representing yourself 0)
NCO FINANCIAL SYSTEMS, INC,

DAVID LAWRENCE

 

{b} Attomeys (Firm Name, Address and Telephone Number. [f you are representing Attorneys (If Known)

yourself, provide same.)

Krohn & Moss, Ltd.; Ryan Lee, Esq.
10474 Santa Monica Bivd., Suite 401; Los Angeles, CA 90025

 

 

(323) 988-2400
I. BASIS OF JURISDICTION (Place an X in one box only.) HL. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.}

C11 US. Government Plaintiff #3 Federal Question (U.S, PTE DEF PTF DEF

Government Not a Party) Citizen of This State Oi (1 Incorporated or Principal Place O14 (14
of Business in this State

(22 U.S, Government Defendant 04 Diversity (indicate Citizenship | Citizen of Another State 62 ©2 Incorporated and Principal Place 5 [145

of Parties in Item TE of Business in Another State
Citizen or Subject of a Foreign Country 113 (3 Foreign Nation M6 O06

 

 

L¥. ORIGEN (Place an X in one box only.)

#1 Original (32 Removed from (13 Remanded fom 14 Reinstated or
Proceeding State Court Appellate Court Reopened

(25 Transferred from another district (specify), O46 Multi-
District
Litigation

£17 Appeal to District
Judge from
Magistrate Judge

 

¥. REQUESTED IN COMPLAINT: JURY DEMAND: Myes (No (Check “Yes” only if demanded in complaint.)
CLASS ACTION under F.R.C.P. 23: 0 Yes No [i] MONEY DEMANDED IN COMPLAINT: $

VI. CAUSE OF ACTION (Cite the U.8, Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.}
15 USC 1692 et seq.; Unlawful and Abusive Debt Collection Practices
VIL NATURE OF SUET (Place an X in one box only.)

 

 

 

 
       
 

 

           
     

 

 

 

 

  

  

 

 

   

 

     
   

 

 

 

  

 

 

 

 

 

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State Reapportionment Insurance Se PE Fair Labor Standards
(2410 Antitrust 120 Marine (15310 Motions to Act
0430 Banks and Banking £1130 Miller Act Airplane Product 1[ 370 Other Fraud Vacate Sentence [1720 Labor/Memt.
(1450 Commerce/ICC £1140 Negotiable Instrument Liability — C372 Truth in Lending Habeas Corpus Relations
Rates/etc. £1150 Recovery of 320 Assault, Libel&  |f1380 Other Personal |(7530 General £1730 Labor Mgmt.
12460 Deportation Overpayment & Slander : Property Damage {£1535 Death Penalty Reporting &
(3470 Racketeer Influenced Enforcement of 11330 Fed. Employers’ |r) 396 Property Damage {£1 540 Mandamus/ Disclosure Act
and Corrupt Judgment 13340 vets oarsmen oduct Liability Other Railway Labor Act
Organizations (1151 Medicare Act 1345 Marine Product EOBANIRUPTE WSF IL) $50 Civil Rights Other Labor
w/4g0 Consumer Credit [1152 Recovery of Defaulted Liability (1422 Appeal 28 USC (1555 Prison Conditi Litigation
£1490 Cable/Sat TV | Student Loan (Excl. — fy 3s9 xtotor Vehicle 138 ae = Empl. Ret, Inc,
01810 Selective Service Veterans} (3355 Motor Vehicle (1423 Withdrawal 28 EA PEN, . Security Act
0850 Securities/Commodities/|[7 153 Recavery of Product Liability — eras USE 137 ca[Gl O10 Agricuiture Se ePROPER NG RIGH
Exchange Overpayment of [7360 Other Personal See OVA RIG) G0 620 Other Food& 10 820 Copyrights
(1875 Customer Challenge 12 7 | Veteran’s Benefits Injury £144] Voting Drug [1830 Patent
USC 3416 £1 160 Stockholders’ Suits (1362 Personal Injury. |£1442 Employment {1625 Drug Related (1840 Trademark
(1890 Other Statutory Actions 10 190 Other Contract Med Malpractice [£7 443 Housing/Acco- Seizure of 5 AT
89) Agricultural Act M195 Contract Product (1365 Personal Injury- mmodations Property 21 USC |[ 861 HEA (1395ff)
(1892 Economic Stabilization Liability Froduct Liability (0444 Welfare 881 (3862 Black Lung (923)
Act (1196 Franchise 11368 Asbestos Personal [445 American with [19630 Liquor Laws 0863 DIWC/DIWW
893 Environmental Matters 1 Injury Product Disabilities - C1640 BUR, & Track (405(¢))
(7894 Energy Allocation Act (1210 Land Condemnation . iabili Employment £3650 Airline Regs (2864 SSID Title XVI
(1895 Freedom of Info. Act [9 220 Foreclosure : [1446 American with [660 Occupational 1865 RSI (405(2))
£1900 Appeal of Fee Determi- | 230 Rent Lease & Ejectment {7462 Naturalization Disabilities - Safety /Health
nation Under Equal (9240 Torts to Land Application Other 1690 Other (1870 Taxes (U.S. Plaintiff
Access to Justice £1245 Tort Product Liability |[1463 Habeas Corpus- 1 440. Other Civil ot Defendant)
£1950 Constitutionality of 101290 All Other Real Property Alien Detainee Rights C1871 IRS-Third Party 26
State Statutes 465 Other {immigration USC 7609
Actions
ev
FOR OFFICE USE QNELY: = Case Number:

 

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW,

 

CV-71 (05/08)

CIVIL COVE

R SHEET

Page | of 2
Case 2:10-cv-08686-DMG-JCG Document1 Filed 11/15/10 Page 8of8 Page ID #:12

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

Viii(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? wf No [Yes
If yes, list case number(s}:

 

VIIi(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? No 0 Yes
If yes, list case mamber(s}:

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) (A. Arise from the same or closely related transactions, happenings, or events; or
(OB. Call for determination of the same or substantially related or similar questions of law and fact; or
(C. For other reasons would entail substantial duplication of labor if heard by different judges; or
(2D. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When compieting the following information, use an additional sheet if necessary.)

(a) List the County in this District, California County outside of this District, State if other than California; or Foreign Country, in which EACH named plaintiff resides,
() Check here if the government, its agencies or employees is a named plaintiff, If this box is checked, go to item (b).

 

County in this District:* California County outside of this District, State, if other than California; or Foreign Country
Los Angeles (CA)

 

 

(b) List the County m this District, California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
C) Check here if the goverment, its agencies or employees is a named defendant. If this box is checked, go to item (c}.

 

County in this District:* California County outside of this District, State, if other than California; or Foreign Country
Horsham, PA

 

 

 

(c) List the County in this District, California County outside of this District, State if other than California, or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

~-Gounty in-this Distrfot Fn ro rere

Los Angeles (CA) ~ /

  

Lalifornia County outside of this District, State. if other tian Catifomia; or Foreign Country

 

 

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventyf¥a, su Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tra¢t of land involved

X, SIGNATURE OF ATTORNEY (OR PRO PER); Date October 19, 2010
Notice te Counsel/Parties; The CV-7] (18-44) obi Cover nda the information contained herein neither replace nor supplement the filing and service of pleadings

or other papers as required by law, This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended,
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program, (42 U.5.C. L935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability, (42 U.S.C. 405(g))

863 DIWW AH claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 0.8.C. 405(g})

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended, (42
USC. (g)

 

CV-71 (05/08) CEVIL COVER SHEET Page 2 of 2

 

 

 
